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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 24-3182                                                 September Term, 2024
                                                                      1:21-cr-00690-RCL-1
                                                        Filed On: February 3, 2025
United States of America,

              Appellee

       v.

Philip Sean Grillo,

              Appellant


       BEFORE:        Millett, Wilkins, and Rao, Circuit Judges

                                         ORDER

       Upon consideration of the unopposed motion to vacate convictions and remand
for dismissal, it is

      ORDERED that the judgment of the district court be vacated and the case be
remanded with instructions to dismiss the case as moot. See United States v. Schaffer,
240 F.3d 35, 37–38 (D.C. Cir. 2001) (en banc).

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to issue the mandate forthwith to the district court.


                                        Per Curiam


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Selena R. Gancasz
                                                          Deputy Clerk
